                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
                           MILWAUKEE DIVISION

ALVIN PINTOR,
individually and on behalf of
all others similarly situated,

              Plaintiff,

                            v.
                                              CASE NO. 17-cv-890
HyPro, INC., d/b/a Spirit
Manufacturing, Inc., and

SERVICE FIRST STAFFING, INC.,

              Defendants.


                  MOTION FOR ATTORNEYS’ FEES AND COSTS


      Pursuant to the Court’s Order granting preliminary approval of the Parties’

Settlement Agreement (ECF No. 29), 29 U.S.C. §216(b), and Fed. R. Civ. P. 23,

Plaintiff, by and through his attorneys, Hawks Quindel, S.C., hereby respectfully

petitions the Court for an award of costs and attorneys’ fees as set forth below and

on the grounds set forth in Plaintiff’s supporting brief and the accompanying

declarations of Attorneys Summer H. Murshid, Brenda Lewison, Rebecca Salawdeh,

and James A. Walcheske:

      1.      Class Counsel has negotiated a settlement of this FLSA collective

action and Rule 23 class action on behalf of 149 Class Members employed or

previously employed by HyPro Inc., d/b/a Spirit Manufacturing, Inc., and Service

First Staffing, Inc. (“HyPro”),



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        2.      The settlement creates a common fund of $130,000.00. Plaintiff

petitions the Court for a recovery of 33.33% of the common fund for attorneys’ fees,

and $1,194.19 in costs, for a total of $44,527.52.

        3.      As set forth in greater detail in Plaintiff’s supporting brief, the

requested attorneys’ fees and costs are reasonable and consistent with the market

rate in similar cases.

        WHEREFORE, Plaintiff respectfully requests that the Court award costs and

attorneys’ fees as set forth above during the fairness hearing on September 18,

2018.

        Respectfully submitted this 28th day of August, 2018.

                                               Respectfully submitted,


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